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                              Exhibit A
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                                                                                   20SMCV00617
                                     Assigned for all purposes to: Santa Monica Courthouse, Judicial Officer: Craig Karlan
Electronically FILED by          Court of California, County of Los Angeles on 04/23/2020 08:38 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Mariscal,Deputy Clerk



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                     11 Attorney for Plaintiffs

                     12 Legacy Insurance Solutions LLC and
                        Bradley Tierney
                     13

                     14                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

                     15                                         COUNTY OF LOS ANGELES, WEST DISTRICT

                     16 LEGACY INSURANCE SOLUTIONS LLC, a                                                    Case No.:
                        California limited liability company, and
                     17 BRADLEY TIERNEY an individual,
                                                                                                             VERIFIED COMPLAINT FOR:
                     18                           Plaintiffs,                                                (1) DECLARATORY RELIEF;
                                                                                                             (2) UNFAIR COMPETITION (CALIF.
                     19                r~                                                                         BUS. & PROF. CODE § 17200);
                                                                                                                  AND
                     20 ABS HEALTHCARE SERVICES, LLC, a                                                      (3) COMMON LAW UNFAIR
                        Florida limited liability company, and HEALTH                                             COIVIPETITION.
                     21 OPTION ONE, LLC, a Florida limited liability
                        company. and DOES 1 through 20, inclusive,                                           DEMAND FOR JURY TRIAL
                     22

                     23                            Defendants.

                     24

                     25                Plaintiffs Legacy Insurance Solutions LLC ("Legacy Insurance") and Bradley Tierney
                     26 ("Tierney") (collectively, "Plaintiffs"), for their Complaint against defendants ABS Healthcare
                     27 Services, LLC and Health Option One, LLC (collectively, "Defendants"), allege as follows:
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                                                                                            COMPLAINT
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     1                                                 INTRODUCTION

     2           1.           This is an action for unfair competition pursuant to California's Unfair Competition

     3 Law (Bus. & Pro£ Code § 17200); unfair competition pursuant to common law and declaratory

     4 relief pursuant to Civ. Proc. Code § 1060 and California Business and Professions Code § 16600.

     5           2.           Plaintiffs are seeking to resolve an actual controversy with Defendants regarding the I

     6 rights and obligations of the parties relating to, and arising from Defendants' Independent Agent or

     7 Agency of Record Agreement ("Independent Agent Agreement") entered into between Tierney and

     8 Defendants.

     9           3.           Specifically, Defendants contend that Tierney signed an Independent Agent

    10 Agreement even though Tierney was never an employee or independent contractor of Defendants.

    11 Rather, Tierney had a relationship with an insurance agency which in turn had a contractual

    12 relationship with Defendants.

    13            4.          Despite the fact that Tierney is a California resident and the fact that Legacy

    14 Insurance is a California limited liability company with California employees, Defendants have

    15 taken the position that under the Independent Agent Agreement that Tierney should be refrained

    16 from engaging in a lawful profession, trade, or business that is in any way competitive with

    17 Defendants' business despite the fact that Tierney has long since terminated his relationship with

    18 the agency of record that was marketing Defendants' products and despite the fact that Tierney has

    19 not knowingly solicited any of Defendants' customers nor has Tierney used or disclosed any of

    20 Defendants' confidential information, nor does Tierney have any recollection of even signing the

    21 Independent Agency Agreement. Defendants have also affirmatively claimed that any businesses

    22 I such as Legacy Insurance which employs Tierney would be improperly interfering with the

    23 I Independent Agent Agreement by hiring Tierney, even though neither Tierney nor Legacy Insurance
    24 have taken or used any of Defendants' proprietary information.
    25             5.         Accordingly, this dispute involves whether Tierney can be legally restricted,

    26 pursuant to the overly broad and onerous terms of the restrictive covenants in the Independent Agent
    27 Agreement which Defendants contend Tierney signed, from engaging in a lawful profession, trade,
    28 or business, and whether Legacy Insurance has acted properly in its relationship with Tierney.

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                                                          COMPLAINT
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     1             6.          This dispute also involves whether Plaintiffs can conduct business with other
     2 insurance agents who have previously worked for agencies that sold Defendants' products,

     3 notwithstanding Defendants' act or practice of requiring the independent agents, and other similarly

     4 situated individuals, to sign such overly broad restrictive covenants, and whether threats by

     5 Defendants against Tierney constitute unfair competition.

     6                                        The Parties, Jurisdiction, and Venue

     7            7.           Plaintiff Legacy Insurance, a California employer, is a California limited liability

     8 company with its principal place of business in Los Angeles, California. Legacy Insurance's 18

     9 employees are all California residents.

    10            8.           Plaintiff Tierney is a resident of California.

    11            9.           Defendant, ABS Healthcare Services, LLC, is a Florida limited liability company

    12 that is licensed by the State of California to solicit insurance business in this state and which in fact

    13 does solicit insurance business in this state.

    14            10.          Defendant, Health Option One, LLC, is a Florida limited liability company that is

    15 licensed by the State of California to solicit insurance business in this state and which in fact does

    16 solicit insurance business in this state.

    17            11.          On information and belief, both Defendants have customers and prospective

    18 customers in Los Angeles, County and Defendants in part are seeking to preclude Defendants from

    19 contacting any of those customers (and even non-customers) in Los Angeles, County.

    20            12.          The Court has personal jurisdiction over Defendants and subject matter jurisdiction

    21 over this case.

    22            13.          Venue is proper in Los Angeles County, California, where Defendants seek to

    23 restrain Plaintiffs from engaging in a lawful possession, trade, or business.

    24                                             GENERAL ALLEGATIONS

    25                                  Tierney and the Independent Agent Agreement

    26            14.          Tierney formerly had a relationship with an insurance agency, Priority One Health.

    27 Priority One Health in turn had a business relationship with Defendants.
    28

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                                                           COMPLAINT
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      1          15.         Defendants contend that on or about January 4, 2016, Tierney executed the

     2 Independent Agent Agreement. Attached as Exhibit "A" is a copy of the Independent Agent

      3 Agreement which Defendants contend was signed by Tierney.

      4          16.         Defendants never paid Tierney the marketing fees on the sale of association

      5 memberships or insured policies as stated in the Independent Agent Agreement. The only payments

      6 that Tierney received for the sale of association memberships or insurance policies during the time

      7 he had a relationship with Priority One Health were payments made by Priority One Health.

      8          17.         Similarly, Defendants never funded Tierney's "agency licenses in various states,"

      9 I which was the stated consideration for the Independent Agent Agreement.

     10          18.         The Independent Agent Agreement provides in pertinent part:

     11           "AGENT OR AGENCY OF RECORD understands and agrees that the relationships

     12           between ICD, its customers, benefit providers, carriers, agencies and/or agents are

     13           unique, and aQrees to not contact those customers, benefit providers, carriers,

     14           azencies and/or agents for commercial purposes other than on behalf oflCDLor

     15           the entire term of this Aereement and for a neriod of twentv-four months ubon

     16           termination of the this A,greement. AGENT OR AGENCY OF RECORD further

     17           agrees that if AGENT OR AGENCY OF RECORD violates this Paragraph, then ICD

     18           has no remedy at law and may pursue its equitable remedies including specific

     19           performance, injunctions and restraining orders in any court of competent

    20            jurisdiction.

    21            XIII. NON-SOLICITATION

    22                       A. AGENT OR AGENCY OF RECORD shall not induce or attempt to

    23                       induce any benefit providers, carriers, customers, employees, licensed agents,

    24                       representatives, agencies of record and/or any agents of record to discontinue

    25                       their association with ICD.

    26                       B. 1CD shall not induce or attempt to induce any customers, employees,

    27                       agents and/or representatives, agencies of record and/or agents of record to

    28                       discontinue their association with AGENT OR AGENCY OF RECORD.

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                                                           COMPLAINT
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      1 Exhibit A, XII.F, XIII (emphasis added).

      2              19.         The Addendum to the Independent Agent Agreement provides in pertinent part:

      3               4. In consideration for ICD funding AGENT OR AGENCY OF RECORD's agency

      4               licenses in various states, the AGENT OR AGENCY OF RECORD agrees to sell,

      5               offer for sale, obtain leads for sale to, contact and/or attempt to contact potential

      6               insured(s) for health insurance, life insurance and/or association products exclusively

      7               on behall of ICD and/or any company affiliated with ICD and shall not sell for any

      8               other individual or entity in accordance with the provisions of the Agreement and

      9               this Addendum.

     10

     11               7. The AGENT OR AGENCY OF RECORD aerees that it nor its officers, directors,

     12               related employees and/or agents shall compete with the known business ofICD or

     13               its affiliated comnanies during the term of this Agreement. AGENT OR AGENCY

     14               OF RECORD further understands and agrees that the relationships between ICD and

     15               any affiliated and/or related company and its customers, employees and AGENT OR

     16               AGENCY OF RECORDS are unique and agrees to not contact any ICD customer

     17               or any and all afriliated company's customer, employee and/or AGENT OR

     18               AGENCY OF RECORD for commercial purposes other than on behalf of ICD or

     19               any affiliated and/or related company for a period of twelve (12) months from the

     20               date oftermination ofICD's affiliation with AGENT OR AGENCYOFRECORD.

     21 Id., Addendum at p. 16.

     22         Defendants Wrongfully Accuse Tierney of Violatin2 the Independent A2ent Allreement

     23              20.         Tierney terminated his relationship with Patriot One Health in 2016. Subsequently,

     24I Tierney never marketed an of Defendants' products.

     25II            21.         In 2017, Tierney moved to California.

     26'             22.         Tierney did not take any confidential or trade secret information belonging to

     27 Defendants and has not used or disclosed any such confidential or trade secret information, let alone
     28 I to or for the benefit of Legacy Insurance.

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                                                           COMPLAINT
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      1            23.         Defendants never even disclosed any confidential or trade secret information to

      2 Tierney in the first place. To the best of his knowledge, no one else has disclosed Defendants'

      3 confidential or trade secret information to him.

      4            24.         Neither Tierney nor any of Legacy Insurance's employees (all of whom are

      5 California residents) are knowingly targeting or selling to ICD customers.

      6            25.         To the extent that Tierney actually signed the Independent Agent Agreement,

      7 Tierney has fully complied, and fully intends to comply, with any legally enforceable restrictions

      8 set forth in the long-since terminated Independent Agent Agreement.

      9            26.         Nevertheless, by letter dated Apri14, 2020 and sent via Federal Express to Tierney's

     10 California residence and to Legacy Insurance's principal business address, attached hereto as

     11 Exhibit B, Defendants informed Tierney and Legacy Insurance that:

     12             This will provide you with official notice pursuant to your agreement dated January

     13             4, 2016, that you are in violation and breach of such agreement, including of section

     14             four of the Addendum thereof. As provided in the agreement, we are available for

     15             the next 10 days to discuss an amicable resolution of your violation and breach.

     16 I Ex. B.

     17            27.         Section four of the Addendum to the Independent Agent Agreement purports to

     18 require Tierney to sell "health insurance, life insurance and/or associated products" exclusively for

     19 Defendants and no one else.

     20            28.         Moreover, given that more than three years have passed since Tierney terminated his

     21 relationship with the agency that was selling health insurance, life insurance, and/associated

     22I products on behalf of Defendants, it is clear that Defendants have taken the position that this

     23 restriction that Tierney cannot sell any products that are competitive to ICD's products is a covenant

     24 that precludes Tierney from ever engaging in his chosen profession unless he does so for the benefit
     25 I of Defendants.
     26
     27
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                                                          COMPLAINT
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     1                                  COUNT ONE — DECLARATORY RELIEF

     2            29.         Plaintiffs hereby restate the allegations set forth in Paragraphs 1 through 28, as

     3 I fully set forth herein.

     4            30.         Even though he has no recollection of ever signing the agreement, Tierney haE

     5 adhered to the valid terms of the Independent Agent Agreement throughout and subsequent to the

     6 valid term of that agreement, including honoring any and all obligations to maintain any confidentia:

     7 and trade secret information belonging to Defendants that may have been disclosed to him.

     8            31.         Those terms that are invalid and overly broad, however, are hindering Tierney';

     9 ability to engage in his chosen lawful profession, trade, or business in violation of California lam

    10 and any other allegedly applicable state law.

    11            32.         Given Tierney's relationship with Legacy Insurance and Defendants' position tha:

    12 Tierney is obligated to sell exclusively for Defendants even years after the Independent Ageni

    13 I Agreement terminated, Defendants' conduct is also hindering Legacy Insurance's right to engage ir

    14 a lawful business, its rights as an employer of California employees, and the rights of Legac}

    15 Insurance's employees to engage in their chosen lawful profession, trade or business.

    16            33.         The restrictive covenants in the Independent Agent Agreement constitute illega

    17 restraints of trade in the State of California and are void against the applicable public policy of the

    18 State of California, or any other allegedly applicable state laws and policies.

    19            34.         Plaintiffs seek a declaratory judgment that restrictive covenants in the Independeni

    20 Agent Agreement are void against the applicable public policy and that Tierney's activities on behall

    21 of Legacy Insurance are not in breach of any valid restraint in the Independent Agent Agreement.

    22            35.         Plaintiffs seek a declaratory judgment that Legacy Insurance is not wrongfull}

    23 interfering with any legally enforceable aspects of the Independent Agent Agreement, and thai
    24 Legacy Insurance's conduct is justified or privileged.

    25            36.         Among other things, paragraphs XII and XIII of the agreement, and sections 4 and ;

    26 of the Addendum are facially invalid under Business and Professions Code § 16600.
    27            37.         Additionally, the definition of "Confidential Information" in Paragraph XII and ir

    28 the Mutual Non-Disclosure Agreement extends to matters far beyond the definition of trade secrets

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                                                         COMPLAINT
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      1 Accordingly, paragraph XII as a whole and the Mutual Non-Disclosure Agreement when coupled

      2 with the overly broad definition of "Confidential Information" are facially invalid under California

      3 Business and Professions Code § 16600.

      4             38.         Defendants have created an actual and justiciable controversy between Plaintiffs and I

      5 Defendants by threatening legal action against Plaintiffs as a result of Tierney selling insurance

      6 I related products on behalf of Legacy Insurance rather than for Defendants.

      7             39.         Legacy Insurance intends to lawfully compete against Defendants for business, both

      8 through Tierney, and other possible new employees or independent contractors that may have

      9 executed independent agent agreements with Defendants in the past. As a result, Plaintiffs have a

     10 reasonable belief that Defendants are seeking to interfere with their business relationship and with

     11 Tierney's right to engage in his chosen lawful profession, trade, or business by attempting to enforce

     12 the unlawful restrictive covenants, unduly limiting the Plaintiffs' activities and impairing their rights

     13 to compete fully and fairly in California.

     14             40.         For these reasons, Plaintiffs are uncertain and insecure with respect to their rights.

     15             41.         This controversy necessities a determination of this dispute to protect the Plaintiffs

     16 I from the uncertainty and insecurity described above.

     17             42.         The ends of justice require a declaratory judgment that the restrictive covenants in

     18 the Independent Agent Agreement are overly broad and unenforceable under applicable California

     19 law or any other allegedly applicable state law, and constitute illegal restraints of trade.

     201            43.         If the overly broad post-employment restrictions are enforced, trade will be

     21 unlawfully restrained, Tierney will suffer irreparable harm and be denied his right to work freely in

     22 his chosen field to which he has devoted significant time and training, Legacy Insurance will be

     23 irreparably harmed by the inability to work with Tierney who is one of Legacy Insurance's insurance

     24 agents of record, and Legacy Insurance's California employees will suffer irreparable harm and be

     25 denied their right to work freely in their chosen field.
     26             44.         Plaintiffs respectfully request a declaratory judgment providing a declaration of the

     27 rights and legal relations between the parties and holding that the restrictive covenants in the
     28

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                                                            COMPLAINT
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      1 Independent Agent Agreement are overly broad and unenforceable under applicable California law

      2 or any other allegedly applicable state law and constitute illegal restraints of trade.

      3                                 COUNT TWO — UNFAIR COMPETITION

      4                                     (Bus. & Prof. Code §§ 17200 et seq.)

      5          45.         Plaintiffs hereby restate the allegations set forth in Paragraphs 1 through 28, as if

      6 I fully set forth herein.

      7          46.         This count for unfair competition is brought to find and declare that Defendants' act

      8 I of requiring Tierney and similarly situated independent insurance agents, to sign the Independent

      9 Agency Agreement constitutes unfair competition in violation of,                 inter alia, Business and
     10 Professions Code Section 17200, California's Unfair Competition Law.

     11          47.         It violates California's Unfair Competition Law for Defendants to require

     12 independent agents, such as Tierney, to sign an agreement containing facially invalid or overly broad

     13 restrictive covenants.

     14          48.         As companies that are licensed to solicit insurance business in California, Defendants

     15 should be required to comply with California law, including California's Unfair Competition Law.

     16 The fact that Defendants' principal place of business is in another state does not permit Defendants

     17 to violate California's public policies while reaping the benefits of being licensed to market and sell

     18 insurance products in the State of California.

     19          49.         The unfair competition injures Defendants' downstream competitors, such as Legacy

     20 Insurance, by reducing the field, or trying to reduce the field, of qualified insurance agents who

     21 could work for a competitor without breaching any valid agreement.

     22          50.         Plaintiffs have lost money or property as a result of the unfair competition. Plaintiffs

     23 have had to expend time, energy and money, including but not limited to out-of-pocket payment of

     24 costs and expenses, towards investigating and defending their rights in response to Defendants'
     25 I unfair competition.
     26          51.         Plaintiffs have no adequate remedy at law. Accordingly, Defendants' conduct of

     27 I requiring Tierney, and similarly situated employees, to sign agreements containing facially invalid
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                                                         COMPLAINT
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      1 and/or overly broad restrictive covenants should be enjoined, along with ancillary conduct that

      2 improperly restrains competition.

      3                                 COUNT THREE — UNFAIR COMPETITION
      4                                     (Pursuant to California Common Law)

      5            52.         Plaintiffs hereby restate the allegations set forth in Paragraphs 1 through 28, as if

      6 I fully set forth herein.

      7            53.         This count for unfair competition is brought to find and declare that Defendants' act

      8 of requiring Tierney and similarly situated independent insurance agents, to sign the Independent

      9 Agency Agreement as a condition of Defendants continuing their business relationship with

     10 agencies with whom the independent agent has a relationship constitutes unfair competition in

     11 I violation of California's common law.

     12            54.         It constitutes common law unfair competition for Defendants to require independent

     13 agents, such as Tierney, to sign an agreement containing facially invalid or overly broad restrictive

     14 I covenants.

     15            55.         The unfair competition injures Defendants' downstream competitors, such as Legacy

     16 Insurance, by reducing the field, or trying to reduce the field, of qualified insurance agents who

     17 could work for a competitor without breaching any valid agreement.

     18            56.         Plaintiffs have suffered damages in an amount according to proof at trial, and

     19 Plaintiffs will continue to suffer damages, and thus have no adequate remedy at law, if the unfair

     20 competition is not enjoined. Accordingly, Defendants' conduct of requiring Tierney, and similarly

     21 situated insurance agents, to sign agreements containing facially invalid and/or overly broad

     22 restrictive covenants should be enjoined, along with ancillary conduct that improperly restrains

     23 competition.
     24                                             PRAYER FOR RELIEF
     25             WHEREFORE, Plaintiffs request a judicial declaration and judgment as follows:

     26             A.         A declaration that (a) the restraints of trade in Defendants' Independent Agency

     27                        Agreement, including without limitation the covenant not to compete, the non-

     28                        solicitation covenants, and choice-of-law provisions appended thereto, are void and

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                                                          COMPLAINT
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      1                        unenforceable; (b) Tierney may continue to work in his chosen profession and sell I

      2                        products that are competitive with products sold by Defendants; (c) Plaintiffs have

      3                        not violated any contractual, statutory or common law duty or obligation owed to

      4                        Defendants; and (d) Defendants are obligated to comply with Business and

      5                        Professions Code section 16600 and 17200 and may not evade California's sovereign

      6                        authority to regulate trade in California by imposing choice-of-law or forum

      7                        selection clauses in its independent agency agreements with California residents or

      8                        with those engaged in business in California;

      9             B.         A preliminary and permanent injunction as necessary and appropriate to effectuate

     10                        the declaratory judgment and prevent the subject unfair competition.

     11             C.         A preliminary and permanent injunction against Defendants including their officers,

     12                        agents, servants, employees and attorneys, and those in active participation with them

     13                        or Defendants, restraining and enjoining them from: (a) commencing or taking any

     14                        action, other than in this court, the Superior Court of the State of California for the

     15                        County of Los Angeles, to enforce any post-termination restrictive covenants against

     16                        Tierney, or to otherwise restraining him from working in his chosen profession; (b)

     17                        commencing or taking any action, other than in this Court, the Superior Court of the

     18                        State of California for the County of Los Angeles, against Legacy Insurance relating

     19                        to Legacy Insurance hiring of any independent agents who executed an independent

     20                        agent agreement with Defendants on the grounds that said agent violated any post-

     21                        termination covenant not to compete, obligation of confidentiality, law of unfair

     22                        competition, or any other law regarding restraint of trade: (c) taking any action, other

     23                        than in this Court, the Superior Court of the State of California for the County of Los

     24                        Angeles, against Plaintiffs, or any of them, to restrict competition or employment on

     25                        the ground that any Plaintiffs are in possession of trade secret or confidential

     26                        information belonging to Defendants, and would "inevitably" use or disclose such

     27                        information or would undertake some other action that should prevent competition;

     28                        and (d) interfering in any way with the respective business relationships between

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                                                           COMPLAINT
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      1                      Legacy Insurance and Tierney in violation of Business and Professions Code sections
      2                      16600 and 17200.
      3           D.         A judgment awarding Plaintiffs damages in an amount to be determined.
      4           E.         A judgment awarding Plaintiffs their attorney's fees as permitted by law.
      5           F.         A judgment awarding Plaintiffs their costs and disbursements as permitted by law.
      6           G.         A judgment awarding Plaintiffs such other and further relief as this Court deems just
      7                      and proper.

      8

      9 Dated: Apri123, 2020                               COZEN O'CONNOR
     10

     11                                                    By: JA&
                                                               Frank Gooch III
                                                                                bft4 I&
     12                                                        Attorneys for Plaintiffs
                                                               Legacy Insurance Solutions LLC and
     13                                                        Bradley Tierney
     14
                                               DEMAND FOR JURY TRIAL
     15

     16           Plaintiffs hereby request a jury trial on all issues to the extent permitted by law
     17

     18 Dated: Apri123, 2020                               COZEN O'CONNOR
     19

     20                                                    By: ji   .,t& b ~
                                                               Frank Gooch III
     21                                                        Attorneys for Plaintiffs
                                                               Legacy Insurance Solutions LLC and
     22                                                        Bradley Tierney
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                                                        COMPLAINT
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      1                                            VERIFICATION
      2            I have read the foregoing VERIFIED COMPLAINT FOR DECLARATORY RELIEF,
      3 UNFAIR COMPETITION (CALIF. BUS. & PROF. CODE § 17200) and COMMON LAW

      4 UNFAIR COMPETITION and know its contents.

      5           I am the Managing Member of Legacy Insurance Solutions LLC, a party to this action, and
      6 am authorized to make this verification for and on its behalf, and I make this verification for that

      7 reason. The factual matters stated in the foregoing document relating to Legacy Insurance

      8 Solutions LLC are true of my own knowledge except as to those matters which are stated on

      9 information and belief, and as to those matters I believe them to be true.

     10           I declare under penalty of perjury under the laws of the State of California that the
     11 foregoing is true and correct. Executed on Apri123`d, 2020 at Santa Monica, California.

     12

     13
                                                        Bra ey Tierney, Managing Member
     14

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      1                                             VERIFICATION

      2          I, Bradley Tierney, am a Plaintiff in the above-entitled action. I have read the foregoing

      3 VERIFIED COMPLAINT FOR DECLARATORY RELIEF, UNFAIR COMPETITION
      4 (CALIF. BUS. & PROF. CODE § 17200) and COMMON LAW UNFAIR COMPETITION

      5 and know the contents thereo£ The factual matters stated in the foregoing document relating to me

      G7 is true of my own knowledge, except as to those matters which are therein stated on information and

      7 belief and, as to those matters, I believe it to be true.

      8          I declare under penalty of petjury under the laws of the State of California that the foregoing

      9 is true and correct. Executed this 23`d day of April, 2020 at Santa Monica, California.



     11
                                                                    Bradley Tierney
     12

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                               Exhibit A




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                  1NDEPENDENT AGENT OR AGENCY OF RECORD AGREEMENT


     This agreement ("AGREEMENT"} is by and between ABS HEALTHCARE SERVICES, INC. !
     HEALTH OPTION ONE, INC. DBA INSURANCE CARE DIRECT (HEREINAFTER "ICD") with
     their primary place of bus.iness located. at 1002 E. Newport Center Drive, Suite .200, Deerfield
     Beach, FL 33442 and bMA              -TifM(M("AGENT OR AGENCY OF RECORD".defined
     as an individual or corporatioAi, licerisedl in every state in which he/she or it sells),
     located/residing at D~Aa        t` bY`rr.rnrx'GiGt, Wd & i i—tr ~W~ A   ,(collectively "Parties).

     1.     EFFECTIVE DATE                         ~r ~ ~~~~, ~ ~3~D~

            The efPective date of this Agreement shall be the date the last party to this Agreement
            executes the same.

     II.    TERM

            This Agreement shall commence on ttie Effective Date stated in Paragraph I herein
            above 'and shall terminate one year from the Effective Date. This Agreemerit shall
            automatically renew, unless terminated in accordance with Paragraph VI herein below.

     Ill. AUTF40R1ZED SERVICES PROVIDED BY AGENT OR AGE[VCY OF RECORD

            A.      ICD authorizes AGENT PR AGENCY OF RECORD to solicit, procure, .qualify,
                    verify, transmit applications and to perform such other functions as may
                    reasonably be required in order to sell.the ICD Product.

            B.      AGENT OR AGENCY OF RECORD is not authorized on behalf of ICD to: incur
                    any liability; make, waive, alter, endorse _or discharge contracts or any terms
                    thereof; bind any application for, or policy of, insurance; endorse checks payable;
                    deliver any policy; extend the time for any payment of monthly rate; waive
                    forfeitures; name. special rates; or bind 1CD to any contract, in any way._ Unless
                    authorized in writing, AGENT OR AGENCY OF RECORD shall not collect any
                    inonies due, or to become due, except for the collection .of initial monthly
                    premiums and one time enrollment fee.

            C.      AGENT OR AGENCY OF :RECORD is' an independent contractor for all
                    purposes and not an employee of ICD. AGENT OR AGENCY OF RECORD has
                    full control of its time and the right to exercise independent judgment as to the
                    time, place and manner of perForming services, except that it shall conform with
                    all benefit provider guidelines, carrier guidelines, ICD's rules and regulations, as
                   'well as all federal, state and local laws, rules, regulations and ordinances,
                    wherever applicable.

            D.      Neither AGENT nor AGENCY OF RECORD nor any person or persons acting on
                    behalf of the AGENT OR AGENCY OF.RECORD shall contact the carrier or
                    benefit provider for any reason.

     IV. TERRITORY

            AGENT OR AGENCY OF RECORD shall maintain all required licenses in all
            juriscdictions in which the agent is conducting business on behalf of ICD and shall comply
            with any and all applicable federal, state,.or local laws, rules, regulations or ord'+nances
            affecting its operations. All agents and/or sub agents selling ICD on behalf of ICD :and


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                  1NDEPENDENT AGENT.OR AGENCY OF RECORD AGREE[u1ENT


            compensated by AGENT OR AGENCY OF RECORD's entity shall be licensed and
            appointed in their resident state and shall have all non-resident licenses and
            appointments t~equired by the carrier andloi- various state laws: No agent "compensated.
            by AGENT OR AGENCY OF RECORD shall be permitted to market ICD on behalf of
            ICD in any state in which the agent is not Iicensed and appointed in accordance to
            federal, state andlor local law or ordinance. AGENT OR AGENCY OF RECORD is
            granted th eexclusive right to sell on behalf of ICD in saidr jurisdictions,.

     V. COMPENSATION

            A.     AGENT OR AGENCY :OF RECORD shall, be paid marketing fees on sale of.
                   association memberships orinsurance policies in accordance with the schedules
                   set forth by ICD, attached hereto and incorporated by reference as Schedule A,
                   including any addendums:

            B.     Marketing feesshall be paid fo AGENT OR AGENCY OF RECORD on Friday of
                   each week for business .written the prior week. A week shall commence on
                   Monday and end. on Sunday:

            C.     If the Camier of credit card co..mpany .returns or charges back a premillm
                   ("chargeback") or any portion thereof for ariy reason; the Marketing fees paid. on
                   sale of association shall be deducted from AGENT OR AGENCY OF RECORD's
                   Marketing fees paid. Based. on returns or chargebacks, AGENT OR AGENCY
                   OF RECORD may accrue a debt. ICD may offset any debt:owed by AGENT OR
                   AGENCY OF RECORD to 1CD against any amount owed by' ICD to the AGENT
                   OR AGENCY OF RECORD.

            D.     If ICD,, .in its discretion, finds it necessary to respond to any litigation or any
                   dispute with any governmental Agency that arises based on the conduct of the
                   AGENT OR AGENCY .OF .RECORD or any person acting on, behalf of the
                   AGENT OR AGENCY OF RECORD then AGENT .OR AGENCY OF RECORD
                   shall be responsible for one hundred percent (100%) of all attorney's fees and
                   .costs, as well: as any fines assessed against ICD.. :AGENT OR AGENCY OF
                    RECORD shall be further responsible for orte hundred percent (100%) of a!I
                    costs and attorney fees- relating to any appeal .taken from assessment of said
                    fines. Said fines arising from such litigation or dispute with any governmental
                   Agency may be offset by present or residual Marketing fees paid on .sale of
                    association mernbe~ships earned. If said present or residual marketing fees do
                    not totally offset fines "assessed against ICD. due to AGENT-OR AGENCY OF
                    RECORD's conduct .or the:conduct of any person acting on behalf of AGENT OR
                    AGENCY OF RECORD, then residual Marketing fees may be applied :until such
                   -tiirne as all applicabte fines for.which the AGENT OR AGEN'CY OF RECORD. js
                    responsible for are paid in full.

      Vl.   TERI+AINATION

            A.      This Agreernent may be ter.minated at wili by .either party:herein, with sixty (60)
                    days' notice, by wr'itten notice of the election to terminate, hand delivered, sent
                    via overnight mail or maiied .by certified mail, r.eturn .receipt requested, to the
                    other party at the last known address as stated herein above. Said notice shall
                    be effective on the date on which said termination n.otice as sent or rriailed to :the.


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                other party:

          B.    ICD may terminate this Agreement, for cause, ;at ariy time and without notice, if
                AGENT OR AGENCY OF RECORD °comrimits acts including, but not limited to
                one or more.of the following:

                1.        Failing to comply with any of the provisions of this'Agreement, or

                2.        Acts contrary to the law; or conimits. a felony, act of fraud or willful
                          misconduct'in . any matter related to #his agreement, or

                3.        inducing or attemptirig to ,induce any employees, a'gents, or
                          representatives of ICD to discontinue their as5ociation with.ICD, or

                4.        Inducing or attempting to induce any party to relinquish a.policy or
                          contract with: ICD_ or.

                b.        Generating escalated mernber complaints or 3rd party investigations
                          resulting in negative press, business interruption, cease and desist
                          orders, legal       or otherwise', in any way,. damaging, the goodwill of.
                                        actiori


                          ICD orthe reputation of ICD products, or

                6,.       Failing to comply with any benefit provider guideiines, 'carrier guidelines,
                          I.CD's rules; regulations or company   policies or federal, .state or locai laws
                          goverriing the industry or applicable to the. terms of this Agreement, or

                7:        Any violation relating .to the replication of ICD's, website, proprietary
                          software and/or systems, or

                8.        Failing to implement and ,transmit daily one hundred percerit of the voice
                          recording of the insurance application verification to;lCD; or

                 9.       Failing to represent accurately, to one :or more consumers,, ICD Plans
                          sold on behalf of ICD.

           C.   This. Agreement shall automatically terminate," 'smrriediately and without pfior
                notice, upon the occurrence of one or more of the following: (i) the dissolution of
                the partnership, if the AGENT OR AGENCY OF RECORD is a partnersh'ip, or (ii)
                the clissolution. of the corporation, if the .AGENT OR AGENCY OF RECORD ,is a
                corporation, or (iii) the sale or merger of the AGENCY OF RECORD, or (iv) the
                assignriient o€ this agreement by AGENT OR AGENCY OF RECORD' without the
                      _    .

                prior wntten consent of. ICD, or. (v) the licensed principal terminates his or her
                                                                      I

                relationship with the AGENT OR AGENCY OF RECORD, or                   .one or more of
                                                                                     ,(vi)


                the AGENT OR AGENCY OF RECORD's licenses is I are suspended or revoked
                 by any regulatory authority and there is no replacerrient of a licensed AGENT OR
                AGENCY OF RECORD named iivithin ten (10) days, or (vii) the corporate entity
                or the AGENT OR AGENCY OF RECORD invokes any form of federal
                 bankrup#cy jur.isdiction or state jurisdiction for receivership., liquidation, or
                 conservatorship.

           D:    Upon termination of this. Agreement, the ,AGENT OR :AGENCY OF RECORD


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                   INDEPENDENT AGENT OR AGENCY OF RECORD AGREEMENT


                   shall immediately pay all sums due to ICD and shall deliver to. ICD all rate books;
                   letters, r.ecords, supplies, and any such related items connected with ICD's
                   business.

             E.    If this Agreement is terminated for any reason, any monies that are due to the
                   AGENT OR AGENCY OF RECORD shall be held by ABS for up to 90 days.
                    During that period, ABS shall perfoml a final accounting and reconciliation;
                    including chargebacks, and issue commissions due to AGENT OR AGENCY OF
                    RECORD following such review..

             F.     ICD may, in its sole discretion, suspend or terminate this Agreement, temporarily
                    or permanently by revoking the AGENT OR AGENCY OF RECORD's authority to
                    represent it, during any reasonable period of investigation to determine whether
                    conditions exist to warrant temporary or permanent termination of residual
                    Marketing fees paid on sale of association memberships for cause. The AGENT
                    OR AGENCY OF RECORD shall reasonably cooperate with ICD in any such
                    investigation, to include producing necessary documents and providing any other
                    information requested.

     VII. SUSPENSION

             In the event 1NDEPENDENT MARKETER becomes the subject of a regulatory or other
             legal investigation or allegation, ABS has the right to suspend INDEPENDENT
             MARKETER until such time as the issues are resolved or a final determination rendered.
             Suspension can include suspension of INDEPENDENT MARKETER'S right to sell in
             one or more states during the suspension period.

     Vlll.   ASSIGNMENT

             A.     The AGENT OR AGENCY OF RECORD may not assign this Agreement without
                    the pr.ior written consent of ICD. ICD may assign this Agreement at will, without
                    the consent of the AGENT OR AGENCY OF RECORD.

             B.     AGENT OR AGENCY OF RECORD may only assign compensation, or any
                    portion thereof due or to become due to AGENT OR AGENCY OF RECORD, to
                    another licensed agent or corporate entity, licensed as required in any and all
                    jurisdictions requiring licensure in which the AGENT OR AGENCY OF RECORD
                    is selling and such corporate entity may not be committed to another association
                    or carrier. AGENT OR AGENCY OF RECORD may not assign its duties and
                    obligations under this Agreement. AGENT OR AGENCY OF RECORD shall
                    inform ICD of any assignment within tviio (2) business days of said assigriment.
                    Any assignment shall be subject to provisions of law, and shall be subordinate to
                    any and aH indebtedness of the AGENT OR AGENCY OF RECORD to ICD, then
                    or thereafter existing.

     1iX.    9NDEBTEDNESS

             Any debt the AGENT OR AGENCY OF RECORD owes to ICD shall be payable at ICD's
             home office. ICD may offset against any claim by the AGENT OR AGENCY OF
             RECORD for compensation hereunder any debt to ICD then due or that may thereafter
             become due from the AGENT OR AGENCY OF RECORD, whether arising hereunder or


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          othe.rwise, and such debt shall be a first lien on any such compensation. ICD shall have
          the right, at its disctetion, to charge interest on any indebtedness due it by the AGENT
          OR AGENCY OF RECORD. lnterest shall be calculated from the time .said
          indebtedness was incurred, at per annum rate equal to the prime commercial rate as
          charged by Bank of America (or its successor) from time to time; provided, however, that
          such rate shall not exceed the rate permitted to be charged by Iaw. lCD shall have the
          right to determine to wh9ch indebtedness any payment made by the AGENT OR
          AGENCY OF RECORD, -whether offset or otherwise; shall be ap.plied. The AGENT .OR
          AGENCY OF RECORD shall pay all costs and. expenses, including collection fees
          and/or reasonable attomey's fees iricurred by ICD in' the collection of indebtedness
          hereunder.

     X.   GENERAL

          A.     The Parties shall use their best efforts to keep in full force and affect all
                 customers enrolled in any plan offered on behalf of ICD. The Parties shall so
                 conduct their actions so as not to adversely affeot the business, good standing,
                 goodwill or reputation of either ICD or AGENT OR AGENCY OF RECORD.

           B.    The Parties agree to maintain all records and books. as required by benefit
                 provider guidelines, car(er guidelines, ICD policies and procedures, federal,
                 state or Iocal lavv or regulation; further' ICD may, froin time: to time, release
                 training and educational materials rel'ated to regulatory compliance.

           C.    AGENT OR AGENCY OF RECORD agrees to comply with all benefit provid"er
                 guidelines, carrier guidelines, ICD policies and procedures, federal, state and/or
                 local laws and/or regulations, and with all published bulletins, field letters, or any
                 other written communications from any benefit provider, carrier or ICD now in
                 force and such as may be hereafter accepted.

           D.     ICD may require the use ofd script and specific disclosure statements to be used
                  when marketing its products.

           E.     ICD requires that products deemed not to satisfy all requirements of the Patient
                  Provider Affordable Care .Act ("I''PACA") must be disclosed to the consumer as
                  being non-PPACA conforming and that the AGENT OR AGENCY OF RECORD
                  must make certain that the consumer has underst4od the disclosure :and the
                  potential penalties that may carry.

           F.     ICD or the issuing carrier may audit AGENT OR AGENCY OF RECORD, to
                  assure compliance with.any and all reguiatory requirements.

           G.     The AGENT OR AGENCY OF RECORD shall have no power or authority other
                  than herein expressly granted and no otfier or greater powers shall be implied
                  from the grant or denial of powers expressly mentioned herein.

           H.      The AGENT OR AGENCY OF RECORD shall have no claim and/or
                  compensatiori for having introduced :er brought to the attention of .ICD any
                   business opportunity, except under separate written agreemerit with ICD to pay
                   such compensation, signed on behalf of ICD by any member of the board of
                  'directors of ICD.


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                 The forbearance br neglect of 1CD to insist upon strict compliance by the AGENT
                 OR AGENCY OF RECORD with _any of the provisions of this Agreement whether
                 continuing or not, shall not be construed as a waiver of any of ICD's rights or
                 privileges hereunder. No waiver of any right or privilege arising from any default
                 or failure of performance by the AGENT OR AGENCY OF RECORD shall affect
                 ICD's .rights or privileges in the event of a further default or failure of
                 performance.

            J.   The Parties shall not reproduce any software or other material prov.ided by either
                 party to the other_ AII such material shall be used exclusively in the performance
                 of this Agreement and may not be used or distributed for any other purpose.

            K.   AGENT OR AGENCY OF RECORD shall notify ICD immediately in writing if the
                 arty licensed agent, employee, associate, officer, director, principal or other
                 representative of its busiriess has been convicted of any felony, misdemeanor.or
                 any other lesser crime.

            L.   The AGENT OR AGENCY OF RECORD agrees to submit to any and a ll training
                 determined to be necessary by ICD, including but not limited to: (i7 initial training
                 upon execution of any AGENT OR AGENCY OF RECORD agreement, and I or
                 (ii) any re-training required at ihe discretion of ICD, based upon any
                 determination by ICD that said AGENT OR AGENCY OF RECORD is in ariy way
                 failing to accurately represent any product sold on behalf of ICD in the
                 marketplace, and/or (iii) any re-trairiing required due to AGENT OR AGENCY OF
                 RECORD offering any product sold by !CD in such a way as to damage ICD's
                 goodwill in the market pface. The AGENT OR AGENCY OF RECORD further
                 agre:es to s:chedule product training relating `to any product sold on behalf of 1CD,
                 for all employees, agents, and/or representatives offering any product on behalf
                 of ICD in the marketplace. ICD reserves the right to audit on site at the premises
                 of the AGENI" OR AGENCY OE RECORD, at any time and without prior notice,
                 to determine compliance of any and all sales tactics, any and all scripts and/or
                 marketing materials, including 'but not lirriited to, all marketing procedures and
                 Verification procedures utilized by AGENT OR AGENCY OF RECORD and/or
                 any agent, representative, employee andlor any other person acting on behalf of
                 the AGENT OR AGENCY OF RECORD.

      XI.   INDEMNIFICATION

            A.    AGENT OR AGENCY OF RECORD shall indemnify, defend, and hold harmiess
                  ICD, its affifiates, officers, directors, members; shareholders, insurers, employees
                  and parent corporations, fr,.om and against any and all third.-party claims, suits,
                  liabilities, losses; and damages :of whateVer nature, (including :all i-easonable
                  costs, expenses and attorneys' fees) arising frorn or in connection with (a) in any
                  way fa'iling to accurately represent any product sold on behalf of ICD .in the
                  marketplace (b) any intentional and.lor unintentional misrepresentation by
                  AGENT OR AGENCY OFRECORD regarding an ICD product/service that is the
                  cause of such claim, (b) any unauthorized 'transaction, arid/or (c) AGENT OR
                  AGENCY OF RECORD's breach of the terms and conditions of this executed
                  AGENT OR AGENCY OF RECORD Agreement, including prohibited marketing
                  activities.


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          B.    ICD shall indemriify, defend, and hold harmless: AGENT OR AGENCY OF
                RECORD, its affiliates, officers, directors, members, shareholders, insurers,
                empfoyees and parent corporations, from and against any and all third-party
                claims, suits, liabilities, Iosses, and damages of whatever nature, (including a!I
                reasonable costs, expenses and attomeys' fees) arising from 'or in connection
                with ICD's breach of the terms and conditions af this executed AGENT OR
                AGENCY OF RECORD Agreement.




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     Xll. CONFIDENTIAL INFORMATION

          A.    Confidential Information includes all individually identifiable health information
                and other information about a person that:

                       a person provides to obtain coverage; or

                2.     results from a client transaction; or

                3.     is otherwise obtained in connection with providing coverage, such as:
                       identities, names, addresses and ages of policyholders; types of policies;
                       amounts of rates, policy renewals, dates; client listings, claim information;
                       any policyholder iriformatiort subject to any privacy law; and information
                       identified as confidential.

           B.   Confident'ial Information also includes the following:

                       any and all business plans or processes utilized by ICD;

                2.      any and all customer anci Agents of record lists utilized by ICD;

                3:      any and all products "andlor benefits developed or sold by ICD;

                4.      any and all intellectual property utilized by ICD, including but not limited to
                        copyrightable material, computer software, trademark related materials
                        such as names, logos, color schemes, trade dress related materials, or
                        patentable processes or materials.

           C.   The Parties agree that they shall:

                        use the other party's Confidential Informatiori only for the purpose for
                        which it was disclosed and only to carry out the provisions of this
                        Agreement;.

                2.     not disclose the other party's Confidential Information to third parties
                       unless necessary to meet its obligations under this Agreement; and then
                       °only to a third party similarly bound by the same privacy standards and
                       agreements;

                3.      continue to treat the other party's Confidential information in this manner
                        everi after termination of this Agreerrient; and

                4.      comply with all applicable prrivacy laws and regulations; and

                 5.     comply with all benefit providers', insurance carriers' and. the Party`s
                        policies and procedures regarding Confidential. lnformation.

           D.    The Parties further agrees that they have furnished and are furnishing certain
                 Confidential Information and Trade Secret Information to each other. The terrn
                 "Confidential Information" shalf rnean a11 .information that the Parties have
                 furnished to each other or are furnishing to each other. The term "Trade Secret


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                Information" shall mean all information owned or claimed to be owned by the
                Parties, including but not limited to customer information, marketing informatio.n,
                formula, pattem, compilation, program, device, method, technique, or process
                that

                f.     derives independent e.conomic value, actual or potential, from not being
                       generally known'to, and not being readily ascertainable byproper means
                       ay, other persons who can obtain economic. value from its di;sclosure or
                       use; and.

                2.     is the subject of efforts that are reasona6le under the circumstances to
                       maintain i#s secrecy. The Parties' Confidential Inforrnation and Trade
                       Secret Infiormation includes a description of the unique manner in which,
                       each party performs its.business operations and may also consist of and
                       is not limited to,. computer software, customer and member lists and
                       agreements, proVider lists and agreements, beneft. provider lists and_
                       agreements, agent, agency .and/or AGENT OR AGENCY OF RECORD
                       lists, employee lists, marketing strategies, access and referrat
                       agreements, internal payment procesSing and administrative procedures
                       and demographic and other.data related to the business of the Parties.

           E.   The Parties agree that they shall keep the :Confidential Information and Trade
                Secret lnformation private and that the Confdential Information and Trade Secret
                Information Shall not, without the prior written consent of the Parties, be disclosed
                by the Parties or by its officers, directors, shareholders, partners, employees,
                affiliates, agents, investors,, consultants, contractors or representati.v,es
                (collectively "Representatives") in any manner whatsoever; in whole ;or in part,
                and shall not be used' by the Parties or by their Representatives. Moeeover, the
                Parties agree to transmit the Confidential Information and Trade Secret
                information oniy to such of its representatives virho in writing agree. to be bound
                by the terms hereof as if a party hereto. In ariy. event,, the AGENT OR AGENCY
                OF RECORD shall be fully {iable for any breach. of this Agreerrient by it or "rts
                Representatives and agrees, at its sole :expense, to take all. reasonable
                measures (including, but not liinited to, court proceedings) to restrain 'its
                representatives, agents .and/or er►mployees from prohibited or unauthorized
                disclosure or use of the Confidential Information and Trade Secret lnformatiorn
                originating from 1CD.:

           F.   The AGENT OR, AGENCY OF RECORD agrees that neither it nor its.
                Representatives shall use the Confideritial lnforrnation.:and Trade Secre#
                Information provided by !CD to develop any protluct or service, which is the .same
                as or similar to any product. or ;service ,sold on behalf of ICD. The AGENT OR
                AGENCY OF RECORD understands and agrees that any payment mechanism;
                any version of the IQ Network andLor ;any lead management system utilized by
                ICD. is. unique and .agrees that it shall "nofi develop for its oinin use, nor. divulge in
                any manner whatsoever the methods ICD utilizes to anyone other than the
                AGENT OR AGENCY OF RECORD. AGENT .OR AGENCY' OF RECORD
                understands and agrees that the reiationships between ICD, its customers,
                benefit. providers; carriers, agencies and/or agents are unique, and agrees to not
                contact those customers, benefit. providers, carriers, agencies :and/pr agents for
                commercial purposes other than on behalfi of ICD f.or the entire term: of this


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                 INDEPENDENT AGENT OR AGENCY OP RECORD AGREEMENT


                  Agreement and for a period of twenty-four months upon termination of the this
                  Agreement. AGENT OR AGENCY OF RECORD further agrees that if AGENT
                  OR AGENCY OF RECORD violates this Paragraph, then ICD has no remedy at
                  law and may pursue its equitable remedies including soecific performance,
                  injunctions and restraining orders in any court of competent jurisdiction.

    Xlll. NON-SOLICITATION

           A.     AGENT OR AGENCY OF RECORD shall not induce or attempt to induce any
                  benefit providers, carriers, customers, employees, licensed agents,
                  representatives, agencies of record and/or any agerits of record to discontinue
                  their association with ICD.

           B.     ICD shall not induce or attempt to induce any customers, employees, agents
                  and/or representatives, agencies of record and/or agents of record to discontinue
                  their association with AGENT OR-AGENCY OF RECORD.

     XN.. APPROVAL OF SOLICITATIONS

           The AGENT OR AGENCY OF RECORD shall .not publish or disseminate any type of
           solicitations, scripts, forms, advertisements or material in any media concerning iCD and
           the ICD Plan or any of its contracted benefit providers, carriers and/or any other
           companies without the prior written consent of the both the benefif provider, carrier
           andlor ICD, fAGENT OR AGENCY OF RECORD shall in no way replicate ICD's website
           without ICD's express written permission.

     XV.   JURISDICTION AND VENUE

           A.     This Agreement and the relationship of the parties shall be governed by the laws
                  of the State of Florida applicable to agreements executed and perFormed .within
                  the State of Florida and without giving effect to any statutes or rules relating to
                  the confiict of laws. The Parties agree and acknowledge that in the negotiating
                  and executing of this agreement and in the performance of this Agreement, they
                  are purposefully availing themselves of the benefits and laws of the state of
                  Florida as to any dispute arisirig out of or related to the inception or performance
                  of this Agreement. The Parties hereby waive their right to contest the exercise of
                  personal jurisdiction over them in the State of Florida. The Parties further agree
                  that venue shall lie in Broward County, Florida. ICD may pursue its equitable
                  remedies, including specific performance, injunctions and restraining orders in
                  any court of competent jurisdiction.

           B.      Both parties shall use best efforts to resolve disputes in an amicable manner for
                   a period of ten (10) days. The Parties agree that any dispute arising out of or
                   related in any way to the solicitation, negotiation, inceptton or performance of this
                   Agreement (whether the dispute is couched iri terrris of contractual, statutory, or
                   common law grounds) shall be exclusively resolved and construed in accordance
                   with Commercial Arbitration Rules of the American Arbitration Association
                   pursuant to the laws of the State of Florida governing arbitration. For any
                   disputes not resolved amicably, venue shail be Broward County, Florida and any
                   judgment .upon the award rendered by the arbitrator(s) may be entered in any
                   court having competent jurisdiction thereof.


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                  INDEPENDEN7 AGENT OR AGENCY OF RECORD AGREEMENT



     XVI.   WAIVER / MODIFICATION

            No waiver or modification of this Agreerrient shall be effective unless in writing,
            expressing by its terms an intention to modify this Agreement, and signed by duly
            authorized representatives of all parties hereto.

     XVII. SUPERVISION / RESPONSIBILITY

            The Parties shall be held harmless from any losses or expenses on the account of ,the
            acts or omissions of the other party or any employee, associate, officer, director,
            principal or any other representative.

     XVI61. COMPLAINTS

            The AGENT OR AGENCY OF RECORD shall document and report within tvuenty four
            (24) hours of occurrence any and all regulatory complaints relating to ICD, any benefit
            provider and/or any carrier and shali provide, in advance of filing said response with the
            regulatory authority, any response thereto for ICD's approval. The Parties agree to
            cooperate fully with each other in the investigation and resolution of said complaints.

     XVIX.. SEVERABILITY

            in the event that any paragraph, subparagraph or provision of this Agreement shall be
            determined to be contrary to governing law or otherwise unenforceable, all remaining
            portions of this Agreement shall be enforced to the maximum extent permitted by law.

     XX.    ENTIRE AGREEMENT

            This Agreement and the Schedules, Attachments or Addendums thereof, represent the
            complete agreement of the parties concerning the subject matter hereof, and all prior or
            contemporaneous negotiations, promises or agreements are merged herewith.

     XXI.   BINDING EFFECT

            This Agreement shall inure to the benefit of and be binding upon the parties hereto, their
            successors and assigns.

     XXII. RELATIONSHIP OF PARTIES

            Nothing contained herein shall be construed fo create the relatior►stiip of empfoyer and
            employee between the parties. The AGENT OR AGENCY OF RECORD is an
            indepentient contractor.

     XXIII. CAPTIONS

            The captions and headings of paragraphs and subparagraphs are inserted for
            convenience of reference only and are not a part .hereof and shall not affect the
            construction or interpretation of any provision herein this, Agreement.




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                .INDEPENDENT AGENT OR AGENCY OF RECORD AGREEMENT


     XXIV. COUNTERPARTS:

          This Agreement may be executed simultaneously in several counterparts; each of which
          shap.be original, -and ali of which shall constitute but one and the'same instrument: A
          facsim'i1e signature shall be considered the same as'an original:signature.

     XXV. NllMBER AND GENDER

          Wheriever required for proper interpretation of this Agreemerrt, the sirigular number shall
          include the plural, the plural the singular, and the use of any gender shall include all
          genders.

     XXVI. CONSTRUAIVCE

          This Agreement has been negotiated at arm's length by the. parties and shall not be.
          construed against:the drafting party,


     ABS HEALTHCARE SERVICES, INC. /                    AGENT OR AGENCY C1F,RECORD,
     HEALTH OPTIO      ,_ INC. DBA
     11dSURANCE D CT

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                    INDEAENDENT AGENT OR AGENCY OF RECORD AGREEMENT

                                MUTUAL: NON-DISCLOSURE AGREEMENT

    This Mutual Non-Disclosure Agreement is by and between ABS HEALTHCARE SERVICES,,
    1NC.I HEALTH OPTION ONE, INC. DBA INSURANCE CARE DIRECT (hereinafter "lCD") with
    their primary place of business located at 1002 E. Newport Center Drive, Suite 200, DeerField
    Beach, FL 33442 and &ja& 11WW                   ("AGENT OR AGENCY OF RECORD" defined
     as an individual or corporati n, lice sed in very state in. which he/she or it sells),
                                                     6 tV~. SWrC,LQ3lt
     located/residing af ~'~2~5 ~, C,bYY1,I'1'4,,YUU.1                           , (collectively"Parties).
                                             FoYT i.tu+de'rda.k, Pt, 333at
     The Parties Hereto Agree as Follows:

            ICD and AGENT OR AGENCY OF RECORD agree that ICD may find it necessary to
             disclose to AGENT OR AGENCY OF RECORD certain information relating. to the
             Transaction andlor the business of 1CD ("the Business"), and AGENT OR AGENCY OF
             RECORD may find it necessary to disclose to ICD certain information relating to the
             Transaction and/or the business of AGENT OR AGENCY OF RECORD (also "the
             Business"). The information exchanged pursuant to this Agreement concerns all
             aspects of this relationship and the Business. Such information, whether oral or written,
             in whatever form provided (hereinafter "Confidential Information"), shall remain the
             property of the party disclosing such Confidential Information. In addition, both parties
             acknowledge that the nature of the Transaction and the identity of any other persoris or
             entities involved with the Transaction are considered confidential information.

     2.      Each party gives Confidential Information to the other party for the sole purpose of
             exploring, developing and conducting business between AGENT OR AGENCY OF
             RECORD, ICD and/or one or rnore third parties.

     3.      Following receipt of any item of Confidential Information, the,receiving party shall;.

             a.      Keep confidential and restrict disclosure of the Confidential lnformation solely to
                     legal counsel, employees, or other representatives (collectively the
                     "Representatives") with a need to know and not disclose the Confidential
                     Information to third parties;

                     Advise Representatives who receive:the Confidential Information of the existence
                     and terms of this Agreement and require that such Representative will not,
                     directiy or indirectly, exploit for their own commercial gain in competition with the
                     disclosing party any information contained in the Confidential lnformation;

             C.      Use, and require Representatives to use, .at least the same degree of care to
                     protect the Confidential Information as 'is used with its .own proprietary
                     information, and in no event shall the degree of care be less than holding tlie
                     Confidential Inforrnation in confidence;

             d.       Use the Confidential Information only for the purpose(s) stated in Paragraph 2
                      above;

             e.      Secure prior written approval from the disclosing party before disclosing any of
                     the Confidential Information to .any third person or party of any kind that is. not
                      involved in the discussions, except the Representatives; and



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                      INDEPENDENT AGENT OR AGENCY OF RECORD AGREEMENT


               f.      Notify the disclosing party imniediately in the event of loss or unauthorized
                       disclosure of any item containing Confidential Information.

      4.       Upon the request of a disclosing party, the receiving party shall return all Confidential
               Information received in written and/or tangible form, including copies, reproductions or
               materials otherwise containing confidential Information; provided, however, if the
               receiving party has incorporated some of the disclosing party's Confidential Information
               into its own Confidential Information, then the receiving party shall destroy the combined
               Confidential Information and certify to the disclosing party that such destruction has
               occurred.

      5.       Nothing contained in this Agreement shall be construed as granting or conferring any
               rights by license or otherwise in any Confidential Information disclosed under this
               Agreement.

      6.       Each party agrees that it will not, directly or indirectly, exploit for its own commercial gain
               in .competition with the other party any information contained in the Confidential
               Information.

      7.       Each party acknowiedges that the other party owns it's Confidential Information, and that
               use of the Confidential Information other than as permitted under this Agreement, would
               cause the other party irreparable harm for which there is no adequate reniedy at !aw and
               would entitle the other party to injunctive relief as well as any other remedies available
               including monetary damages.

      8.       This Agreement is governed by and construed in accordance with the laws of the State
               of Florida, and benefits and binds the parties and their respective successors and
               assigns.

      9.       AGENT OR AGENCY OF RECORD and ICD agree that this Agreement binds them from
               the date first written below and continues until terminated in a writing signed by both
               AGENT OR AGENCY OF RECORD and ICD.


      ABS HEALTHCARE SERVICES, INC. /                          AGENT OR AGENCY OF RECORD,
      HEALTH OPTION     ,   DBA
      INSLlRA       E IRECT
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                   INDEPENDENT AGENT OR AGENCY OF RECORD AGREEMENT


     i,       l   fi~Y~~
                     (PRI ), hereby grant permission to ABS HEALTHCARE SERVICES INC.

     D/B/A INSURANCE CARE DIRECT, AND/OR HEALTH OPTION ONE, INC. to conduct a

     criminal and civil background check. I understand the sensitive nature of insurance licensing

     and sales, inciuding the taking of credit card and bank account information and the need for

     proper due diligence to be done in this regard.




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                  INDEPENDENT AGENT OR AGENCY .OF RECORD AGREEMENT

          ADDENDUM TO INDEPENDENT A(aENT OR AGENCY OF RECORD AGREEMENT

    This Addendum to Independent Agent of Record Agreement ("Addendurri") is by and between.
    ABS HEALTHCARE SERVICES, INC. / HEALTH OPTION ONE, INC. DBA INSURANCE CARE
    DIRECT (hereinafter "ICD") with their primary place of business located at 1002 E. Newport
    Center Drive, Suite 200, Deerfield Beach, FL 33442 and                           ("AGENT OR
    AGENCY OF RECORD" defined as an individual or corporation, censed i every state in which
    helshe or it sells), located/residing at a~aS E. CaArnfA c,i[j1ti~
                                                                    1~ 6_, (collectively "Parties).
                                                         Swv_ zlo3 Af4 .110,u         d,1 c ~-L 333 v~
    Whereas, the Parties agree that agency iicenses are necessary to be compliant with state laws;
    and

    Whereas, the Parties agree that the AGENT OR AGENCY OF RECORD is in need of agency
    licensing, and

    Whereas, the Parties agree that ICD is in a position to fund such agency licensing, and

    Whereas, the Parties agree that funding such agency licensing would benefit both Parties.

     NOW THEREFORE in mutual consideration bf the coVenants contained herein, the Parties
     agree as follows:

           The Parties agree that the recitals set,forth herein ;above are true and correct.

     2.    This Addendum to the Independent Agent of Record Agreement ("Addendum") shall be
           wholly incorporated into the Independent Agent of Record Agreement ("Agreement"),
           including prior and subsequent. addendums, executed by the Parties on or about
                          ~ 20 1tO         The Agreement shall remain in full force and effect.

     3.     Any conflicting clause between said Agreement and this Addendum shall be govemed
            by this Addendum.

     4.     In consideration for ICD funding AGENT OR AGENCY OF RECORD's agency licenses
            in various states, the AGENT OR .AGENCY OF REC                     to sell, offer for sale,
            obtain leads for sale to, contact aridlor attempt to ~Z~ red(s) #or health
                                                                  aco    ntgal
                                                                    tpote%
            insurance, life insurance and/or association produc                     alf of ICD and/or
            any company affiliated with ICD and shall not se                        idual or entity in
            accordance with the provisions of the Agreement and.this Addendum.

     5.     The Parties Agree that all commission schedules attached to the Agreement shall
            remain in effect until the Agreement is terminated in accordance with the terms set forth
            in the Agreement or this Addendum.

     6.     The Parties .mutually agree not to circumvent, avoid, bypass or obviate each other,
            directly or indirectly, to avoid payment. of fees, commissions or other forms of
            compensation, by transacting 'any business with any individual and/or transacting any
            business with or creating any corporation, partnership, or fictitious name.

     7.     The AGENT OR AGENCY OF RECORD agrees that it nor its officers, directors, reiated
            employees and/or agents shall compete with the known business of ICD or its affiliated
            companies -during the term of this Agreement. AGENT OR AGENCY OF RECORD


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                       INDEPENDENT AGENT OR AGENCY OF RECORD AGREEMENT


                 further understands and agrees that the relationships between ICD and any affiliated
                 and/or related company and its customers, employees and AGENT OR AGENCY OF
                 RECORDS are unique and agrees to not contact any ICD customer or any and all
                 affiliated company's customer, employee and/or AGENT OR AGENCY OF RECORD for
                 commercial purposes other than on behalf of ICD or any affiliated and/or related
                 company for a period of twelve (12) months from the date of termination of lCD's
                 affiliation with AGENT OR AGENCY OF RECORD.

      8.         The Parties agree that any breach of this Addendum shall automatically be determined
                 to be a material breach of this Addendum and the Agreement. As a result of such
                 breach, this Addendum and the Agreement shall both be immediately terminated for
                 cause and without notice. The Parties agree that a portion of the damages or such
                 breach shall be immediately due as follows: (a) AGENT OR AGENCY OF RECORD
                 shall forFeit all outstanding commission payments due and owed to AGENT OR
                 AGENCY OF RECORD by ICD, and (b) AGENT OR AGENCY OF RECORD's book of
                 business shall immediately revert to ICD. AGENT OR AGENCY OF RECORD agrees it
                 shall execute all documents necessary to immediately transfer said book of business to
                 ICD. ICD reserves all legal rights to pursue any further remedies and damages against
                 AGENT OR AGENCY OF RECORD, in accordance with Jurisdiction and Venue clauses
                 of the Agreement.

      9.         The Parties agree that in the event of any breach by AGENT OR AGENCY OF
                 RECORD of this Addendum, ICD has no remedy at law and may, at its discretion, obtain
                 an injunction against AGENT OR AGENCY OF RECORD. The Parties agree that the
                 Jurisdiction and Venue clauses contained in the Agreement shall govern this Addendum
                 and remain in full force and effect.

      IN WITNESS WNEREOF dated this the q              day of     !'IULt    , 20 lU



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                               Exhibit B




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                        F I BOES
                              !I SCH{LLER
                                FLEXNER                                                                              Dnvm Boffs
                                                                                                  EMAn.: nso)Es@asr(J.r.caM

                                                             Apri14, 2020

               VIA FEDERAL EXPRESS AND E-MAIL

               Bradley Tiemey                                          Bradley Tierney
               10401 Venice Blvd, Ste. 201                             1222 26'b Street, Apt 4
               Los Angeles, CA 90034                                   Santa Monica, CA 90404
               Email: btiemey(&kratocinvesting com                     Email: gdordietci?hotmail.com


                Bradley Tiemey
                2425 E. Commercial Blvd., Suite 203a
                Fort Lauderdale FL, 33308

                       Re:     ABS Healthcare Services, LLC and Health Option One, LLC/dba
                               Insurance Care Direct

               Dear W. Tierney,
                       This fum represents ABS Healthcare Services, LLC and Health Option One, LLC/dba
               Insurance Care Direct (collectively "ICD Parties"). This will provide you with official notice
               pursuant to your agreement dated ianuary 4, 2016, that you are in violation and breach of such
               agreement, including of section four of the Addendum thereof. As provided in the agreement, we
               are available for the next 10 days to discuss an anucable resolution of your violation and breach.
                      If you are represented by counsel, please have your counsel contact Sigrid McCawley or
               Carlos Sires in the Firm's Fort Lauderdale office. Ms. McCawley's cell phone number is 954-
               770-5377 and her email is smccawley@bsfllp.com; Mr. Sires' cell phone is 305-321-0004 and his
               email csires@bsfllp.com. If you are not represented by counsel, please contact Ms. McCawley or
               Mr. Sires yourself.
                       'I'his will also provide you with notice to retain, and not destroy or alter or take any action
               to conceal, all documents and records of any kind, whether paper or electronie or otherwise, in any
               way conceming or relating to your agreement or your perfomiance, nonperformance, breach, or
               violation,~ of such agreement, including. but not liniited to any contact or communications to or
               ffom Andrew Shader, Corey Shader or any agent or representative thereof.


                       We look forward to hearing from you promptly.


                                                         Sincerely yours,

                                                         IslDavid Boies
                                                         David Boies


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                                                  BOIES SCHILLER FLEXNER LLa
      ~                       333 Moin Streot. Armonk, NY 10504 I(t) 914 749 8200 1(f) 914 749 8300I www,Oselp.aom
